                 Case 2:18-cv-01773-RSM Document 87 Filed 12/29/21 Page 1 of 3



 1                                                  THE HONORABLE RICARDO S. MARTINEZ
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 6
                                    UNITED STATES DISTRICT COURT
 7                                 WESTERN DISTRICT OF WASHINGTON
                                             AT SEATTLE
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     JAMES GINZKEY, RICHARD                             Case No.: 2:18-cv-01773-RSM
10   FITZGERALD, CHARLES CERF, BARRY
     DONNER, and on behalf of the class members         NOTICE OF MOTION RENOTED RE:
11   described below,                                   DEFENDANT NATIONAL
12                                                      SECURITIES CORPORATION’S
                     Plaintiffs,
                                                        MOTION FOR SUMMARY
13          v.                                          JUDGMENT

14   NATIONAL SECURITIES CORPORATION,                   RENOTED FOR CONSIDERATION:
     a Washington Corporation,                          JANUARY 28, 2022
15
                     Defendant.
16

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18   TO: The Clerk of the Court
19          Please be advised that pursuant to Local Civil Rule 7(l), Defendant National Securities
20   Corporation submits this Notice of Motion Renoted to advise the Court and all parties and their
21   counsel that Defendant’s Motion for Summary Judgment, Dkt. 83, is hereby renoted from
22   January 21, 2022 to January 28, 2022. (No response to the motion has been filed.)
23

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27
      NOTICE OF MOTION RENOTED RE                                     BAKER & HOSTETLER LLP
      DEFENDANT’S MOTION FOR SUMMARY                                  999 Third Avenue, Suite 3900
      JUDGMENT - 1 -                                                  Seattle, WA 98104-4040
      CASE NO. 2:18-CV-1773                                           Telephone: (206) 332-1380
          Case 2:18-cv-01773-RSM Document 87 Filed 12/29/21 Page 2 of 3




 1       DATED this 29th day of December, 2021.

 2
                                           Respectfully submitted,
 3
                                           BAKER & HOSTETLER LLP
 4

 5                                         s/ Curt Roy Hineline
                                           Curt Roy Hineline, WSBA #16317
 6                                         James R. Morrison, WSBA #43043
                                           Alexander Vitruk, WSBA #57337
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17                                         Attorney for Defendant
                                           National Securities Corporation
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27   NOTICE OF MOTION RENOTED RE                              BAKER & HOSTETLER LLP
     DEFENDANT’S MOTION FOR SUMMARY                           999 Third Avenue, Suite 3900
     JUDGMENT - 2 -                                           Seattle, WA 98104-4040
     CASE NO. 2:18-CV-1773                                    Telephone: (206) 332-1380
               Case 2:18-cv-01773-RSM Document 87 Filed 12/29/21 Page 3 of 3




                                      CERTIFICATE OF SERVICE
 1
             I hereby certify that on December 29, 2021, I electronically filed the foregoing document
 2
     with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
 3
     to the following:
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      Israels Neuman PLC                                  James Morrison, WSBA #43043
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24                                                s/ DeAnne Adams
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                                                  Legal Assistant
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27    NOTICE OF MOTION RENOTED RE                                     BAKER & HOSTETLER LLP
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      JUDGMENT - 3 -                                                  Seattle, WA 98104-4040
      CASE NO. 2:18-CV-1773                                           Telephone: (206) 332-1380
